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                      Exhibit A
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                                                                                                                                                     SUM-100
                                        SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
 PreHired, LLC, a Delaware limited liability company; and Joshua K.
Jordan, an individual; and Does 1 through 20, inclusive
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
ISA Plus, LLC, a Delaware limited liability company


 NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response . You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo .ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAV/SO! Lo han demandado. Sino responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su version. Lea Ia informacion a
 continuacion.
    Tiene 30 DiAS DE CALENDAR/0 despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia a/ demandante. Una carta o una 1/amada telefonica no /o protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en Ia corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de Ia corte y mas informacion en e/ Centro de Ayuda de /as Cortes de California (www.sucorte.ca .gov), en Ia
 biblioteca de /eyes de su condado o en Ia corte que le quede mas cerca. Sino puede pagar Ia cuota de presentacion, pida a/ secretario de Ia corte
 que le de un formulario de exencion de pago de cuotas. Sino presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia corte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que 1/ame a un abogado inmediatamente. Sino conoce a un abogado, puede 1/amar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en e/ sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca .gov) o poniendose en contacto con Ia corte o el
 colegio de abogados locales. A VI SO: Por ley, Ia corte tiene derecho a reclamar /as cuotas y los costas exentos por imponer un gravamen sobre
 cua/quier recuperacion de $10,000 o mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de Ia corte antes de que Ia corte pueda desechar el caso.

The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (Numero del Caso):
(EI nombre y direcci6n de Ia corte es):      San Diego Superior Court
330 West Broadway
San Diego, CA 921 01
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre, Ia direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
John W. Howard, 701 B Street Suite 1725, San Diego, CA 92101                                            Tel: (619)234-2842

DATE:                                                                Clerk, by                                                                        , Deputy
 (Fecha)                                                             (Secretario)                                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1. c:=:J as an individual defendant.
  (SEAL]

                                  2. c:=:J as the person sued under the fictitious name of (specify) :


                                      3. c:=:J on behalf of (specify):

                                         under: c:=:J CCP 416 .10 (corporation)               c:=:J                 CCP 416.60 (minor)
                                                c:=:J CCP 416.20 (defunct corporation)        c:=:J                 CCP 416.70 (conservatee)
                                                c:=:J CCP 416.40 (association or partnership) c:=:J                 CCP 416.90 (authorized person)
                                                c:=:J other (specify):
                                      4. c:=:J by personal delivery on (date):
                                                                                                                                                          Pa e 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                                       SUMMONS                                                 Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                 www.courtinfo.ca. gov
   SUM-100 (Rev. July 1, 2009)
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                                                           1     JOHN W. HOWARD (SBN 80200)
                                                                 ANDREW G. NAGURNEY (SBN 301894)
                                                           2     JW Howard/ Attorneys, Ltd.
                                                                 701 B Street Suite 1725
                                                           3     San Diego, CA 92101
                                                                 Tel: 619-234-2842; Fax 619-234-1716
                                                           4
                                                                 Email: drew@jwhowardattorneys.com
                                                           5
                                                                 Attorneys for ISA Plus, LLC
                                                           6

                                                           7

                                                           8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                           9                          COUNTY OF SAN DIEGO – CENTRAL DIVISION

                                                           10    ISA PLUS, LLC, a Delaware limited                 Case No.:
                                                                 liability company,
                                                           11                                                      COMPLAINT FOR:
JW HOWARD/ ATTORNEYS, LTD.




                                                                                Plaintiffs,
                                                           12                                                             1.) Intentional Misrepresentation;
                             SAN DIEGO, CALIFORNIA 92101




                                                                        v.
                               701 B STREET, SUITE 1725




                                                           13                                                             2.) Negligent Misrepresentation;
                                                                 PreHired, LLC, a Delaware limited liability
                                                           14    company; and Joshua K. Jordan, an                        3.) Concealment;
                                                                 individual; and Does 1 through 20,
                                                           15    inclusive,                                               4.) Breach of Contract; and

                                                           16                   Defendants.                               5.) Breach of Implied Covenant of Good
                                                                                                                              Faith and Fair Dealing.
                                                           17

                                                           18

                                                           19          Plaintiff ISA PLUS, LLC, (“ISAP”) alleges as follows:
                                                           20                                           INTRODUCTION
                                                           21          1.      This action results from Defendants’ disregard for their contractional undertakings,
                                                           22   coupled with active fraud and negligent misrepresentations in obtaining, and improperly retaining,
                                                           23   the ill-begotten funds of ISAP.
                                                           24          2.      Defendants originated and entered into Income Share Agreements (“ISA
                                                           25   Contract(s)”) with those of its customers (“obligors”) who wished to finance the cost of Defendants’
                                                           26   services. Defendants then sold those ISA Contracts to Plaintiff pursuant to their Forward Purchase
                                                           27   Agreement (“Agreement”) subject to various terms, conditions, and warranties.
                                                           28          3.      Per Defendants’ express representations to ISAP’s principal, the terms and warranties

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                                                                                                           COMPLAINT
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                                                           1    of the Agreement, and indeed the basic understanding, assumption, and purpose underlying the

                                                           2    contract itself, the ISA Contracts purchased by Plaintiff were supposed to be due and owing,

                                                           3    performing, valid, binding, enforceable, and legal.

                                                           4           4.      To the extent the obligor of a performing ISA Contract purchased by Plaintiff later

                                                           5    stopped servicing the debt, then the ISA Contract became recourse to Defendants pursuant to

                                                           6    Plaintiff’s “Put Back” rights set forth in the Agreement.

                                                           7           5.      Defendants’ have refused to perform under the Agreement despite written demand

                                                           8    from Plaintiff, necessitating the instant action.

                                                           9                                                THE PARTIES
                                                           10          6.      On May 14, 2017, preHired, LLC, a limited liability company was incorporated in the

                                                           11   state the of South Carolina (“preHired SC”). On February 23, 2021, preHired SC filed an
JW HOWARD/ ATTORNEYS, LTD.




                                                           12   “Application to Merge Out of Existence into a non-registered Foreign Entity.”
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13          7.      The surviving, aforementioned “non-registered Foreign Entity” was PreHired, LLC, a

                                                           14   Florida limited liability company (“PreHired FL”). PreHired FL was formed shortly before the

                                                           15   merger, on or about February 15, 2021.

                                                           16          8.      Around one year later, on March 22, 2022, PreHired FL filed Articles of Dissolution,

                                                           17   stating that: “ON JANUARY 21ST, 2022, PREHIRED WAS MERGED OUT OF EXISTENCE.”

                                                           18          9.      On December 23, 2021, Defendant Joshua K. Jordan caused Defendant PreHired,

                                                           19   LLC a Delaware limited liability company to be formed (“PreHired DE”). On January 21, 2022,

                                                           20   PreHired FL merged with PreHired DE, with Defendant PreHired DE as the surviving company and

                                                           21   successor in interest to the disappearing company PreHired FL, and in turn preHired SC.

                                                           22          10.       Following the mergers, Defendant PreHired DE is the surviving company and

                                                           23   successor in interest to preHired SC and PreHired FL. As the successor in interest and surviving

                                                           24   entity, PreHired DE assumed all of debts, liabilities, obligations, contracts, duties, and assets of any

                                                           25   kind or nature, including without limitation intellectual property of PreHired FL and in turn preHired

                                                           26   SC.
                                                           27          11.     Defendant Joshua K. Jordan (“Jordan”) is, and at all times relevant hereto was, the

                                                           28   founder, managing member, principle, and chief executive officer for Defendant PreHired DE and its

                                                                                                                    2
                                                                                                              COMPLAINT
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                                                           1    predecessors in interest, preHired SC and PreHired FL. At all relevant times, there was unity of

                                                           2    interest and ownership between Jordan, preHired SC, PreHired FL, and PreHired DE.

                                                           3               12.      PreHired FL, preHired SC, and now PreHired DE, were used as mere

                                                           4    instrumentalities for the transaction of Jordan’s own business affairs and there is such unity of

                                                           5    interest in ownership that the separate personalities of the corporations and the owner no longer

                                                           6    exist.

                                                           7               13.      The same is true for the other non-party corporate entities formed by Jordan to

                                                           8    transact business, including without limitation PreHired Accelerator, LLC, a Florida limited liability

                                                           9    company (“Accelerator FL”), PreHired Recruiting, LLC, a Florida limited liability company
                                                           10   (“Recruiting FL”), and PreHired Recruiting, LLC, a Delaware limited liability company (“Recruiting

                                                           11   DE”).
JW HOWARD/ ATTORNEYS, LTD.




                                                           12              14.      As to Jordan’s Florida companies, both Recruiting FL and PreHired FL listed their
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   principal place of business as 3902 Henderson Blvd., 2nd Floor, Suite, 208, Tampa, FL 33629.

                                                           14   Rather than principal office address for both Recruiting FL and PreHired FL, however, that is the

                                                           15   address for the South Tampa CoCreative, which invites customers to “book now” for “those offsite

                                                           16   meeting rooms you’re looking for.”1

                                                           17              15.      Jordan’s third Florida company, Accelerator FL, purports to have the same principal

                                                           18   place of business as its designated agent, Northwest Registered Agent, LLC, at 7901 4th Street N.,

                                                           19   Suite 300, St. Petersburg, FL 33702.

                                                           20              16.      Jordan thus utilized the various corporations including Defendant PreHired DE as a

                                                           21   mere shell, instrumentality, and conduit for his single venture and individual business of selling

                                                           22   training to “help ordinary people learn Science-Based Sales ® and land high-paying tech sales

                                                           23   jobs.”2

                                                           24              17.      The trademark for Science-Based Sales, for example, is owned by Defendant Joshua

                                                           25   K. Jordan, the original registrant and an individual. Despite this, Jordan caused his “trademark

                                                           26
                                                           27
                                                                1
                                                                    https://www.cocreativ.com/contact.html (last visited June 28, 2022)
                                                           28
                                                                2
                                                                    https://www.prehired.io/ (last visited June 28, 2022)

                                                                                                                            3
                                                                                                                       COMPLAINT
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                                                           1    “Science-Based Sales” to be pledged by his corporate entities as “security for the payment and

                                                           2    performance in full by Seller of Purchaser’s Put Back right and Seller’s other obligation to

                                                           3    Purchaser” under the Agreement with ISAP. Jordan treats his own assets and corporate assets as one

                                                           4    in the same and failed to observe corporate formalities, separateness, and existence.

                                                           5           18.     On information and belief, Jordans companies including Defendant PreHired DE

                                                           6    were all undercapitalize and inadequately funded, such that absent the infusion of capital from third

                                                           7    party sources, such as ISAP, they could not operate.

                                                           8           19.     Justice requires recognizing the substance of the relationship over the form because

                                                           9    the corporate fiction distinguishing between preHired SC, PreHired, FL, PreHired DE and Jordan is
                                                           10   being utilized to perpetuate a fraud or defeat rightful claims by Plaintiff.

                                                           11          20.     An equitable result is achieved by disregarding the corporate form and holding Jordan
JW HOWARD/ ATTORNEYS, LTD.




                                                           12   personally liable for PreHired DE’s breach of contract, as well as the fraudulent and negligent
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   misrepresentations and fraudulent concealment, and conversion of Plaintiffs’ property, as PreHired

                                                           14   DE has been drained of assets and, without piercing the corporate veil, Plaintiffs will be unable to

                                                           15   recoup damages and monies owed under the Agreement.

                                                           16          21.     ISAP is, and at all times relevant hereto was, a Delaware limited liability company

                                                           17   with is principal place of business in San Diego, California.

                                                           18          22.     The true names and capacities, whether individual, corporate, associate or otherwise

                                                           19   of defendants named herein as Does 1 through 20, are unknown to Plaintiff who therefore sues these

                                                           20   defendants by the fictitious names “Does 1 through 20.” When their true names and capacities have

                                                           21   been ascertained, Plaintiff will amend this Complaint to identify them.

                                                           22          23.     On information and belief all the named defendants were the agents, servants,

                                                           23   employees, instrumentalities, representatives, co-venturers, principals, co-conspirators and/or

                                                           24   partners of one another, and in doing the things hereafter alleged, were acting within the scope of

                                                           25   their authority as agents, servants, employees, instrumentalities, representatives, co-venturers,

                                                           26   principals, co-conspirators and/or partners, and with the permission and consent of one another, and
                                                           27   as such share liability with each other in respect to the matters complained of herein.

                                                           28   ///

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                                                                                                             COMPLAINT
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                                                           1             GENERAL BACKGROUND AND MATERIAL TERMS OF AGREEMENT

                                                           2           24.     In and around the end of 2019 and the beginning of 2020, Jordan entertained

                                                           3    discussions and negotiations with the principal and founder of non-party Strategic Education Loan

                                                           4    Fund, LLC (“SELF”), concerning the purchase and sale of the ISA Contracts which at that time he

                                                           5    originated and owned with preHired SC. As set forth more fully above, preHired SC later merged

                                                           6    into PreHired FL, which has now merged into Defendant PreHired DE. As such, PreHired DE as the

                                                           7    surviving company assumed the disappearing companies’ assets, liabilities, duties, and obligations

                                                           8    including the Agreement and those arising under, and relating to it, among other things.

                                                           9           25.     The parties’ agreement was memorialized in that certain Agreement dated January 7,
                                                           10   2020. In the meantime, SELF’s founder formed ISAP to purchase and hold the ISA Contracts sold

                                                           11   under the Agreement, which SELF assigned to ISAP upon its formation.
JW HOWARD/ ATTORNEYS, LTD.




                                                           12          26.     The Agreement defined the ISA Program and ISA Contract as follows:
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




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                                                           18          27.     The initial due date for monthly payments on the ISA Contracts was triggered, if at

                                                           19   all, only when the obligor’s income met or exceeded the specified “Minimum Threshold.” If that

                                                           20   contingency was met the obligor owed a specified percentage of their income for the term or until

                                                           21   the payment cap was met, whichever occurred first.

                                                           22          28.     The Agreement required the “Seller” to provide Purchase Notices identifying the ISA

                                                           23   Contracts that qualified to be purchased under the Agreement. The Purchase Notices further

                                                           24   specified the purchase date and the price for which ISAP could purchase the monthly cohort of

                                                           25   eligible ISA Contracts that were allegedly then performing.

                                                           26          29.     The Purchase Notices were signed by Jordan as “Founder, CEO” and provided:
                                                           27

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                                                                                                           COMPLAINT
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                                                           1           30.     The Purchase Notices provided the banking information where ISAP was to wire the

                                                           2    money to purchase the eligible ISA Contracts and a further representation that “Seller hereby

                                                           3    certifies that the conditions precedent in the Purchase Agreement will be satisfied on the Purchase

                                                           4    Date of the Purchase.” It further included a place for the Seller and ISAP to sign and accept.

                                                           5           31.     A spreadsheet was attached to each Purchase Notice providing further detail about the

                                                           6    ISA Contracts to be purchased including the obligor’s name, the ISA Contracts Repayment Start

                                                           7    Date, payment reference number, and the amount paid among other things.

                                                           8           32.     In addition to the certifications, representations, and details of the specific ISA

                                                           9    Contracts contained in the Purchase Notices, paragraph 7 of the Agreement titled: “Representations
                                                           10   and Warranties of Seller. Seller hereby represents and warrants to Purchaser and its successors and

                                                           11   assigns that, on each Purchase Date:
JW HOWARD/ ATTORNEYS, LTD.




                                                           12
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




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                                                                                                             COMPLAINT
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                                                           5           33.     Paragraph 5 of the Agreement, titled “Reimbursement of Purchase Price / Security

                                                           6    Interest” provides at subsection a thereof: “In the event: that any Obligor related to a Purchased

                                                           7    Receivable ceases payments or becomes a non-payor for a period of longer than 120 days (a

                                                           8    “Defaulted Receivable”), Purchaser has a right to put that Contract back to Seller at the Purchase

                                                           9    Price less repayments received (Purchaser’s “Put Back” rights).” (Emphasis added).
                                                           10          34.     Hence, if a performing ISA Contract with payments that are due and owing is

                                                           11   purchased, but the obligor later quits paying for longer than 120 days, then the purchased ISA
JW HOWARD/ ATTORNEYS, LTD.




                                                           12   Contract becomes a Defaulted Receivable with recourse to Defendant.
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13          35.     Subsection b thereof provided: “As security for the payment and performance in full

                                                           14   by Seller of Purchaser’s Put Back right and Seller’s other obligations to Purchaser hereunder, Seller

                                                           15   hereby grants, assigns and pledges Purchaser, its successors and assigns, a security interest, in any

                                                           16   and all right, title or interest of Seller in or to any and all of the following assets and properties now

                                                           17   owned or at any time hereafter acquired by Seller or in which Seller now has or at any time in the

                                                           18   future may acquire any right, title or interest in: (i) the trademark “Science-Based Sales.”, (ii) the

                                                           19   software Seller has developed entitled “Science-Based Sales Certification Course”, and (iii) in the

                                                           20   good will of Seller’s business. (collectively, the “Collateral”). The security interest constitutes

                                                           21   continuing collateral security for all of the secured obligations. Upon completion of performance of

                                                           22   the obligations imposed upon Seller hereby, Purchaser will make all filings and undertake all actions

                                                           23   necessary and/or appropriate to release the Collateral and terminate any UCC financing statements

                                                           24   as provided for herein.”

                                                           25          36.     Many ISA Contracts purchased by ISAP pursuant to the Agreement and Purchase

                                                           26   Notices became a Defaulted Receivable with recourse to Defendants. Defendants failed to perform
                                                           27   despite multiple written demands for same.

                                                           28          37.     As of March of 2022, the Defaulted Receivables due and owing to ISAP totaled

                                                                                                                 7
                                                                                                              COMPLAINT
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                                                           1    $1,506,988.04 plus costs, fees and interest. Since then, that number has increased to more than

                                                           2    $2,500,000 and as stated more fully below, is expected to increase further due to enforcement

                                                           3    actions against Defendants being pursued by Attorneys General of various states.

                                                           4           38.     On information and belief, several of the Defaulted Receivables were never

                                                           5    performing and eligible for purchase under the Agreement and Purchase Notices in the first instance.

                                                           6    On information and belief, rather than the obligor making payments as contemplated, Defendants

                                                           7    would instead manually initiate a withdrawal of payments from certain obligors using their banking

                                                           8    information on file with negligent, reckless, and/or intentional disregard for whether the obligor had

                                                           9    in fact satisfied the minimum threshold triggering payments, as a means of improperly obtaining
                                                           10   funds from ISAP under false pretenses.

                                                           11          39.     On information and belief, Defendants would purport to trigger the minimum
JW HOWARD/ ATTORNEYS, LTD.




                                                           12   threshold by using estimated income figures that relied on unearned, potential commission, manually
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   adjusting the minimum threshold in order to qualify the ISA Contract for repayment purportedly

                                                           14   because the obligor failed to accept a bona fide offer or collect payments from obligors who obtained

                                                           15   employment in an unrelated and different field.

                                                           16          40.     As a result of these practices and others, on information and belief Defendants are

                                                           17   now the target of an investigation by the Attorneys General of various states, including Washington,

                                                           18   Delaware, and California. On information and belief, certain of the Attorneys General contend,

                                                           19   assert, and allege that the ISA Contracts originated by Defendants as implemented and applied by

                                                           20   Defendants and their practices are unenforceable, invalid, not binding, illegal and Defendants had no

                                                           21   such authority, power, or ability to execute, deliver, or perform the ISA Contracts which violate

                                                           22   various laws, rules, and regulations.

                                                           23          41.     In addition to selling the ISA Contracts to ISAP which is based in San Diego,

                                                           24   California, Defendants have marketed their product and services in California and in fact sold and

                                                           25   provided their products and services to numerous residents throughout California, including without

                                                           26   limitation to obligors from the following locations within California whom are among the member
                                                           27

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                                                                                                            COMPLAINT
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                                                           1    reviews3 posted on Defendants’ website: San Diego County, Concord, Rancho Cucamonga,

                                                           2    Murrieta, Garden Grove, Los Angeles (multiple), Sacramento, Hawthorne, Redondo Beach, Yorba

                                                           3    Linda, Orangevale, Fontana, Modesto, and Westminster among others who may have purchased

                                                           4    Defendants products and services, but not provided a review or provided a review that Defendants

                                                           5    did not add to their website.

                                                           6                                                FIRST CAUSE OF ACTION

                                                           7                                                Intentional Misrepresentation

                                                           8                                                    (Against all Defendants)

                                                           9               42.      ISAP incorporates each of the preceding paragraphs by reference as is fully set forth
                                                           10   herein.

                                                           11              43.      As set forth more fully above, Defendants Jordan and PreHired DE directly itself, as
JW HOWARD/ ATTORNEYS, LTD.




                                                           12   well as its predecessors in interest preHired SC and PreHired FL by and through Jordan, its founder
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13   and chief executive officer, represented via each of the Purchase Notices in 2020 and 2021 signed by

                                                           14   Jordan and provided to Jeff Bernstein of ISAP that the ISA Contracts identified therein were

                                                           15   performing, had satisfied one or more payments thereunder, and that payments were due and owing

                                                           16   on an ongoing basis having satisfied the minimum income threshold.

                                                           17              44.      Defendants Jordan and PreHired DE through its predecessors in interest preHired SC

                                                           18   and PreHired FL by and through Jordan, its founder and chief executive officer, represented orally to

                                                           19   Jeff Bernstein of ISAP in and around the end of 2019 and the beginning of 2020 that the ISA

                                                           20   Contracts originated by Defendants, including their practices to implement and apply them, were

                                                           21   enforceable, valid, binding, legal and Defendants had all such authority, power, or ability to execute,

                                                           22   deliver, or perform the ISA Contracts, which did not violate any laws, rules, and regulations.

                                                           23              45.      All of the above representations were false and Defendants knew they were false

                                                           24   when made or made them recklessly without regard for their truth.

                                                           25              46.      Defendants intended ISAP to rely on all of the above representations to wrongfully

                                                           26   obtain and improperly retain ISAP’s funds and ISAP in fact did reasonably rely on all of the above
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                                                                    https://www.prehired.io/reviews (last visited June 28, 2022.)

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                                                           1    representations of Defendants and tendered payment in reliance on same.

                                                           2              47.   ISAP’s reliance on all of the above representations was the direct, proximate, and

                                                           3    substantial cause of ISAP’s harm.

                                                           4                                      SECOND CAUSE OF ACTION

                                                           5                                         Negligent Misrepresentation

                                                           6                                        (ISAP Against All Defendants)

                                                           7              48.   ISAP incorporates each of the preceding paragraphs by reference as is fully set forth

                                                           8    herein.

                                                           9              49.   As set forth more fully above, Defendants Jordan and PreHired DE directly itself, as
                                                           10   well as its predecessors in interest preHired SC and PreHired FL by and through Jordan, its founder

                                                           11   and chief executive officer, represented via each of the Purchase Notices in 2020 and 2021 signed by
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                                                           12   Jordan and provided to Jeff Bernstein of ISAP that the ISA Contracts identified therein were
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                                                           13   performing, had satisfied one or more payments thereunder, and that payments were due and owing

                                                           14   on an ongoing basis having satisfied the minimum income threshold.

                                                           15             50.   Defendants Jordan and PreHired DE through its predecessors in interest preHired SC

                                                           16   and PreHired FL by and through Jordan, its founder and chief executive officer, represented orally to

                                                           17   Jeff Bernstein of ISAP in and around the end of 2019 and the beginning of 2020 that the ISA

                                                           18   Contracts originated by Defendants, including their practices to implement and apply them, were

                                                           19   enforceable, valid, binding, legal and Defendants had all such authority, power, or ability to execute,

                                                           20   deliver, or perform the ISA Contracts, which did not violate any laws, rules, and regulations.

                                                           21             51.   All of the above representations were false and although Defendants may have

                                                           22   believed the representations were true, Defendants had no reasonable grounds for believing the

                                                           23   representation was true when Defendants made the representations.

                                                           24             52.   Defendants intended ISAP to rely on all of the above representations to wrongfully

                                                           25   obtain and improperly retain ISAP’s funds and ISAP in fact did reasonably rely on all of the above

                                                           26   representations of Defendants and tendered payment in reliance on same.
                                                           27             53.   ISAP’s reliance on all of the above representations was the direct, proximate, and

                                                           28   substantial cause of ISAP’s harm.

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                                                           1                                        THIRD CAUSE OF ACTION

                                                           2                                                 Concealment

                                                           3                                           (Against All Defendants)

                                                           4              54.   ISAP incorporates each of the preceding paragraphs by reference as is fully set forth

                                                           5    herein.

                                                           6              55.   On information and belief, Defendants intentionally failed to disclose and actively

                                                           7    concealed the following facts from ISAP that were known to Defendants and which Defendants

                                                           8    knew were not reasonably discoverable by ISAP: (i) certain of the Defaulted Receivables presented

                                                           9    for purchase to ISAP and identified on the Purchase Notices were never performing and eligible for
                                                           10   purchase under the Agreement or Purchase Notices in the first instance; (ii) several of the payments

                                                           11   were not voluntarily made by the obligors, but by Defendants instead by manually initiating a
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                                                           12   withdrawal of payments from certain obligors using their banking information on file with negligent,
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                                                           13   reckless, and/or intentional disregard for whether the obligor had in fact satisfied the minimum

                                                           14   threshold triggering payments, as a means of making it appear as though the ISA Contracts were

                                                           15   performing and eligible for purchase; (iii) Defendants purported to trigger the minimum threshold by

                                                           16   using estimated income figures that relied on unearned, potential commission, and manually

                                                           17   adjusting the minimum threshold in order to qualify ISA Contracts for repayment purportedly

                                                           18   because the obligor failed to accept a bona fide offer or collect payments from obligors who obtained

                                                           19   employment in an unrelated and different field; (iv) the ISA Contracts originated by Defendants and

                                                           20   their practices to implement and apply them, were unenforceable, invalid, not binding, illegal and

                                                           21   Defendants had no such authority, power, or ability to execute, deliver, or perform the ISA

                                                           22   Contracts, which violated laws, rules, and regulations; (v) the trademark for “Science-Based Sales”

                                                           23   is owned by Defendant Joshua K. Jordan, the original registrant and an individual, such that the

                                                           24   corporate entity did not have the right, title or authority to pledge it as “security for the payment and

                                                           25   performance in full by Seller of Purchaser’s Put Back right and Seller’s other obligation to

                                                           26   Purchaser” under the Agreement with ISAP; and (vi) on information and belief, on April 14, 2020 a
                                                           27   cancelation was instituted for the trademark for “Science-Based Sales”.

                                                           28             56.   ISAP did not know of the above concealed facts.

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                                                           1              57.   Defendants intended to deceive ISAP by concealing the above-referenced facts,

                                                           2    which had they been disclosed, ISAP reasonably would have behaved differently, including without

                                                           3    limitation not paying Defendants for ineligible ISA Contracts that resulted in Defaulted Receivables.

                                                           4              58.   ISAP was harmed and Defendants’ concealment was the direct and proximate, direct,

                                                           5    and substantial cause of ISAP’s harm.

                                                           6                                       FOURTH CAUSE OF ACTION

                                                           7                                              Breach of Contract

                                                           8                                           (Against All Defendants)

                                                           9              59.   ISAP incorporates each of the preceding paragraphs by reference as is fully set forth
                                                           10   herein.

                                                           11             60.   ISAP and Defendants entered into and executed numerous Purchase Notices. ISAP
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                                                           12   as assignee, and Defendant PreHired DE as the successor in interest to preHired SC along with its
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                                                           13   alter ego Jordan, entered into the Agreement.

                                                           14             61.   ISAP did all, or substantially all, of the significant things that the Purchase Notices

                                                           15   and Agreement required it to do.

                                                           16             62.   ISAP purchased ISA Contracts under the Agreement and Purchase Notices, paid

                                                           17   Defendants for same, and tendered notices and demand to perform concerning the Put Back rights

                                                           18   for Defaulted Receivables.

                                                           19             63.   Defendants failed to perform and honor ISAP’s Put Back Rights and further breached

                                                           20   the Representations and Warranties of Seller set forth above in material ways at the purchase date,

                                                           21   which representations and warranties were made an express precedent to ISAP’s performance per

                                                           22   paragraph 3 of the Agreement.

                                                           23             64.   ISAP was harmed and Defendants’ breaches of the contracts were a direct, proximate,

                                                           24   and substantial cause of ISAP’s harm.

                                                           25                                       FIFTH CAUSE OF ACTION

                                                           26                      Breach of Implied Covenant of Good Faith and Fair Dealing
                                                           27             65.   ISAP incorporates each of the preceding paragraphs by reference as is fully set forth

                                                           28   herein.

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                                                           1           66.     ISAP and Defendants entered into and executed numerous Purchase Notices. ISAP

                                                           2    as assignee, and Defendant PreHired DE as the successor in interest to preHired SC along with its

                                                           3    alter ego Jordan, entered into the Agreement.

                                                           4           67.     ISAP did all, or substantially all, of the significant things that the Purchase Notices

                                                           5    and Agreement required it to do.

                                                           6           68.     All of the conditions required for Defendants performance had occurred as ISAP

                                                           7    purchased ISA Contracts under the Agreement and Purchase Notices, paid Defendants for same, and

                                                           8    tendered notices and demand to perform concerning the Put Back rights for Defaulted Receivables.

                                                           9           69.     Defendants failed to perform and honor ISAP’s Put Back Rights and further breached
                                                           10   the Representations and Warranties of Seller set forth above in material ways at the purchase date,

                                                           11   which representations and warranties were made an express precedent to ISAP’s performance per
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                                                           12   paragraph 3 of the Agreement.
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                                                           13          70.     By doing so, Defendants did not act fairly and in good faith.

                                                           14          71.     ISAP was harmed and Defendants’ conduct, which was a direct, proximate, and

                                                           15   substantial cause of ISAP’s harm.

                                                           16                                         PRAYER FOR RELIEF

                                                           17          WHEREFORE, ISAP prays judgment as follows:

                                                           18                  a.     For damages in an amount exceeding $2,500,000, subject to proof at

                                                           19                         the time of trial;

                                                           20                  b.     For prejudgment interest for breach of contract damages from and after

                                                           21                         January 10, 2022, at the rate of 10% percent per year;

                                                           22                  c.     For consequential damages, subject to proof at trial;

                                                           23                  d.     For costs of suit incurred; and

                                                           24                  e.     For such other and further relief as is just and proper.

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                                                           1    Dated: July 1, 2022                       JW HOWARD/ ATTORNEYS, LTD.

                                                           2

                                                           3                                   By:        /s/ Andrew G. Nagurney
                                                                                                          Andrew G. Nagurney
                                                           4                                              John W. Howard
                                                                                                          Andrew G. Nagurney
                                                           5                                              Attorneys for STRATEGIC EDUCATION LOAN
                                                                                                          FUND, LLC and ISA PLUS, LLC
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